Case 2:12-cr-00113-JCM-VCF   Document 358   Filed 10/08/15   Page 1 of 6




              sentencing
   Case 2:12-cr-00113-JCM-VCF   Document 358   Filed 10/08/15   Page 2 of 6




United States v. Markham
Case 2:12-cr-00113-JCM-VCF   Document 358    Filed 10/08/15   Page 3 of 6




                                     /s/ Alison L. Anderson
Case 2:12-cr-00113-JCM-VCF   Document 358   Filed 10/08/15   Page 4 of 6
Case 2:12-cr-00113-JCM-VCF   Document 358   Filed 10/08/15   Page 5 of 6




               October 8, 2015.
Case 2:12-cr-00113-JCM-VCF   Document 358      Filed 10/08/15   Page 6 of 6




                               /s/ Alison L. Anderson
